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                UNITED STATES COURT OF INTERNATIONAL TRADE

                           NEW YORK, NEW YORK

BEFORE: THE HONORABLE GARY S. KATZMANN, JUDGE
__________________________________________
                                           )
SUZANO S.A. (FORMERLY KNOWN AS             )
SUZANO PAPEL E CELULOSE S.A.),             )
                                           )
            Plaintiff,                     )
                                           )
            v.                             ) Case No. 21-00069
                                           )
UNITED STATES,                             ) NONCONFIDENTIAL VERSION
                                           ) Business Proprietary Information
            Defendant.                     ) removed from page 26.
__________________________________________)




                         PLAINTIFF SUZANO S.A.’S
         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
         RULE 56.2 MOTION FOR JUDGMENT ON THE AGENCY RECORD




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July 16, 2021
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                          PLAINTIFF SUZANO S.A.’S
                       MEMORANDUM IN SUPPORT OF
          RULE 56.2 MOTION FOR JUDGMENT ON THE AGENCY RECORD

       Plaintiff Suzano S.A., formerly known as Suzano Papel e Celulose S.A. (“Suzano” or

“Plaintiff”), respectfully submits the following memorandum in support of Plaintiff’s Motion for

Judgment on the Agency Record in accordance with Rule 56.2(c) of the Rules of the United States

Court of International Trade. For the reasons set forth below, Suzano respectfully requests that

the Court reverse the challenged determination of the U.S. Department of Commerce

(“Commerce”) and remand with instructions to recalculate Suzano’s financial expense ratio, and

therefore Suzano’s dumping margin, in a manner consistent with this Memorandum and the

Court’s findings.

               RULE 56.2 STATEMENT AND SUMMARY OF ARGUMENT

I.     ADMINISTRATIVE DETERMINATION SOUGHT TO BE REVIEWED

       Suzano seeks review of the U.S. Department of Commerce, International Trade

Administration’s, final results of the third administrative review of the antidumping duty (“AD”)

order on Uncoated Paper from Brazil, Case No. A-351-842. The final results were published as

Certain Uncoated Paper From Brazil, 86 Fed. Reg. 7,254 (Dep’t Commerce, Jan. 27, 2021) (final

results of administrative review) (“Final Results”) (P.R. 170). 1/ This appeal also contests certain

aspects of Commerce’s accompanying Issues and Decision Memorandum for the Final Results of

the 2018-2019 Administrative Review of the Antidumping Duty Order on Certain Uncoated Paper

from Brazil, dated Jan. 19, 2021 (“Final I&D Memo”) (P.R. 167). The period of review (“POR”)

was March 1, 2018, through February 28, 2019.




1/     References to public and confidential documents in the administrative record for this
appeal are identified as “P.R.” and “C.R.”, respectively.


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II.    ISSUES PRESENTED AND SUMMARY OF THE ARGUMENT

       Suzano seeks judgment on the agency record with respect to the following issues raised in

Suzano’s Complaint as set forth below.

       1.      Whether Commerce’s determination that certain derivative expenses were not
               investment-related was supported by substantial evidence on the record.

       Commerce’s established practice is to exclude investment-related financial expenses from

the calculation of a respondent’s financial expense ratio used to determine the cost of production

(“COP”). During the relevant reporting period, Suzano incurred extraordinarily large investment-

related financial expenses and reported these amounts to Commerce seeking their exclusion from

Suzano’s financial expenses.

       At issue was investment-related financial expenses incurred to acquire Fibria Celulose S.A.

(“Fibria”) a large multinational wood pulp producer. Suzano incurred very large financial

derivative-related expenses during the 2018-2019 reporting period to finance this investment –

expenses that would not have been incurred but for the investment and that were incurred solely

for purposes of the investment.       Suzano submitted quarterly earnings statements on the

administrative record quantifying the specific amount of the company’s derivative expenses that

were incurred for this investment purpose and confirming that these expenses were specifically

and directly tied to the acquisition of Fibria, which was only concluded in January of 2019. These

quarterly earnings reports were prepared in the ordinary course of business for presentation to

Suzano’s investors, and the reported amounts for the derivative expenses were reconciled to

Suzano’s 2019 audited financial statements. Their amount and investment-related purpose is

therefore not reasonably in doubt.

       Nevertheless, for the final results, Commerce determined that the derivative expenses at

issue were not investment related – or at least that there was insufficient evidence on the record to



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support that these expenses were investment-related and separable from Suzano’s other financial

expenses. Commerce concluded instead that these expenses were merely part of Suzano’s general

operations and cash flow activities, and therefore were includable in Suzano’s financial expense

ratio for the COP calculation.

       This determination was in error. Commerce reached this erroneous determination only by

unreasonably refusing to consider and accept the unrebutted evidence provided in Suzano’s

quarterly earnings reports confirming the specific purpose and amount of these investment-related

expenses. Commerce’s refusal to consider this record evidence and Commerce’s consequential

determination not to recognize that the derivative expenses were investment-related (and therefore

excluded from the financial expense ratio) was not supported by substantial evidence, is

unreasonable, and is contrary to law. This determination should be remanded to Commerce for

further consideration consistent with the record before the agency.

       2.      Whether Commerce’s determination that certain derivative expenses incurred
               by Suzano in connection with the acquisition of Fibria were not
               “extraordinary” in nature was supported by substantial evidence.

       Commerce also has an established practice to exclude “extraordinary” expenses from the

calculation of a respondent’s net financial expense. Commerce concluded that the derivative-

related expenses at issue here were not extraordinary.

       Commerce’s determination that the derivative expenses incurred by Suzano to finance its

acquisition of Fibria were not extraordinary in nature was not supported by substantial evidence

on the record and is unreasonable. The expenses at issue were incurred by Suzano to finance a

multi-billion-dollar acquisition of another very large international company. The extraordinary

size, impact, and unique circumstances of the derivative expenses incurred by Suzano to finance

this once-in-a-lifetime acquisition of the world’s largest producer of eucalyptus pulp meets any

reasonable definition of an “extraordinary” event as it was unusual in nature and infrequent in


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occurrence. Commerce’s failure to consider the evidence on the record demonstrating these facts

therefore lead to a determination that was unsupported by substantial evidence and contrary to law.

III.   STATEMENT OF FACTS

       A.      Procedural History

       On March 3, 2016, Commerce published in the Federal Register the amended final

determination and antidumping duty order covering certain uncoated paper from Brazil. Certain

Uncoated Paper from Australia, Brazil, Indonesia, the People’s Republic of China, and Portugal:

Amended Final Affirmative Antidumping Determinations for Brazil and Indonesia and

Antidumping Duty Orders, 81 Fed. Reg. 11,174 (Dep’t Commerce Mar. 3, 2016).

       On May 29, 2019, Commerce published a notice initiating the third antidumping

administrative review of the antidumping duty order on Uncoated Paper from Brazil, covering the

period of review from March 1, 2018 through February 28, 2019. Initiation of Antidumping and

Countervailing Duty Administrative Reviews, 84 Fed. Reg. 24,743 (Dep’t Commerce, May 29,

2019) (“Initiation Notice”) (P.R. 12).

       On July 1, 2019, Commerce issued questionnaires to two respondent exporters: (1) Suzano,

and (2) International Paper do Brasil Ltda. and International Paper Exportadora Ltda. See Certain

Uncoated Paper from Brazil, 85 Fed. Reg. 18,550 (Dep’t Commerce, April 2, 2020) (preliminary

results of 2018-19 administrative review) (“Preliminary Results”) (P.R. 130) and accompanying

Decision Memorandum for the Preliminary Results of the Administrative Review of the

Antidumping Duty Order: Certain Uncoated Paper from Brazil; 2018-2019 (Mar. 27, 2020)

(“Preliminary Results Decision Memo”) at 2 (providing procedural background on Commerce’s

administrative review) (P.R. 131).




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       Suzano timely submitted questionnaire responses to Commerce’s initial antidumping duty

questionnaire and supplemental questionnaires from July 26, 2019, through February 21, 2020.

Id.

       B.      Suzano Incurred Extraordinarily Large Financial Expenses Throughout
               2018 to Invest in and Acquire Pulp Manufacturer Fibria in 2019

       Suzano is a fully-integrated manufacturer of paper, including the uncoated paper subject to

this review. As documented in Suzano’s questionnaire responses, Suzano and Fibria signed an

agreement in 2018 for Suzano to expand its investments by acquiring Fibria, the world’s largest

producer of eucalyptus pulp. See Letter from Steptoe & Johnson to the U.S. Department of

Commerce re Antidumping Duty Investigation of Certain Uncoated Paper from Brazil: Suzano’s

Response to Questionnaire for Section A at Exh. A-17 (July 26, 2019) (“Initial Section A

Response”) (P.R. 35-38; C.R. 9-12). Throughout 2018, Suzano accumulated cash and contracted

significant international financial transactions to acquire Fibria. Given the outsized and unusual

nature of this cash accumulation exercise, Suzano (as a Brazilian company with accounting in

Brazilian Reais) acquired significant derivatives to protect itself from exchange rate variations that

could adversely impact the cash accumulated to make this specific investment. See Letter from

Steptoe & Johnson to the U.S. Department of Commerce, Case No. A-351-842 (Aug. 21, 2019) at

D-19, D-19a, D-31, D-38-39 (“Initial Section D Response”) (P.R. 79-80; C.R. 139, 154-156).

Suzano secured billions of dollars of loans and credit facilities specifically for the purpose of

financing the large investment in Fibria. See id. at Exh. D-19a (P.R. 79-80; C.R. 139). In January

2019, during the last months of the review period, Suzano finally used this financing to purchase

all of the shares of Fibria and complete its investment in this new and separate company. Initial

Section A Response at A-1, n.1 (July 26, 2019) (P.R. 26; C.R. 2). The eventual merger of Fibria




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into Suzano received formal shareholder approval in April 2019, forming Suzano S.A. one month

after the conclusion of the POR. Id.

       The acquisition of Fibria represented a major investment by Suzano in a separate company.

As reported in the very first sentence of Suzano’s 2018 audited financial report to its shareholders:

“The year 2018 represents an important milestone in the history of Suzano, the company resulting

from the integration between Suzano Pulp & Paper and Fibria Celulose.” See id. at Exh. A-17,

(P.R. 35-38; C.R. 9-12). The Company celebrated the combination of these two companies:

               With the combination of the two companies, Suzano is transformed
               into an even more competitive and robust company for making
               investments that improve its services and for blazing new paths
               based on the sustainable use of natural resources. Always caring for
               the environment and for people, the company is aware that the size
               of its responsibility is proportional to its geographic footprint and to
               the scale of its operations as the world’s leading producer of
               eucalyptus pulp and Latin America’s leading producer of printing
               & writing paper.

Id. This combination, as reported to the shareholders, was anything but a continuation of the old

parent company. Suzano S.A. reported that this “milestone” event began “a new phase” for the

“new company.” Id. Moreover, notwithstanding this combination and complementary nature of

the investments, the primary businesses of the two companies remain separate – “Fibria does not

produce paper and its pulp is to be utilized for pulp sales, not for Suzano’s papermaking

operations.” Initial Section D Response at D-38–D-39 (P.R. 79-80; C.R. 154).

       In its questionnaire responses, Suzano further explained that the expenses associated with

the acquisition of Fibria were separate from Suzano’s regular operations of production of subject

merchandise – uncoated paper. In fact, Suzano’s quarterly financial reports, which were submitted

to Commerce as part of Suzano’s response to section D of Commerce’ initial questionnaire,

demonstrated that these expenses were separate from Suzano’s regular operations because those

quarterly reports separated out the financial expenses related to Suzano’s acquisition of Fibria from


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Suzano’s other financial expenses. See id. at D-31, Exh. D-19a (“Suzano incurred substantial

financial expenses throughout 2018, which it isolated in each of its quarterly financial reports.”)

(P.R. 79-80; C.R. 139, 154-156). The acquisition was identified by Suzano in its earnings reports

as separate from its ordinary operations because, quite simply, it was.

       Additionally, given the multi-billion-dollar magnitude (and financial complexity) of the

proposed purchase of Fibria, the financial expenses incurred during this period were exceptionally

large and unusual for Suzano. Id. The company’s consolidated net financial expenses grew by an

astonishing 279% between fiscal years 2017 and 2018. See Initial Section A Response at Exhibit

A-17 (P.R. 35-38; C.R. 9-12). Suzano’s 2018 audited financial statements confirmed that the “new

company” would “have approximately 37 thousand employees (direct and third), with assets

located in Brazil and in the world. In total there will be 11 industrial units reaching 11 million

tons of pulp, 1.4 million tons of paper and annual export volumes totaling R$ 18 billion.” Id. Note

32 of the 2018 Financial Statement further explains the consideration provided for the acquisition

which included a R$27,797,440,000 cash installment and an adjustment of value of the shares held

by Fibria shareholders. Id.

       In Suzano’s August 21, 2019, response to section D of Commerce’s questionnaire, Suzano

reported its net interest expense ratio for fiscal year 2018 based on total interest expense, plus all

foreign currency transaction/translation gains and losses, gains and losses on currency forward

transactions, less short-term interest income. See Initial Section D Response at Exhibit D-19a

(P.R. 79-80; C.R. 139). The exact amount of the net derivative loss related to accumulating the

cash for the Fibria acquisition was separately identified and reported in each of Suzano’s quarterly

financial reports issued in the ordinary course of business to its shareholders during 2018 and




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submitted for the record to Commerce. See id. at Exhs. D-19 and D-19a. These are the reports

which Commerce ignored in its Final Determination and which are at the heart of this appeal.

       The quarterly financial reports included several statements explaining the incurred

financial expenses, specifically tying certain of the financial expenses to the acquisition of Fibria

and highlighting that these expenses were unusually large and extraordinary in nature. Id. at Exh.

D-19A (P.R. 79-80; C.R. 139) (emphasis added). The statements to shareholders made in theses

quarterly financial reports include significant details about the large financial expenses Suzano

was incurring at this time specifically to finance the proposed investment in Fibria. These details

included information in the 2018 first quarter earnings report that the investment in Fibria was

estimated to be worth R$29.0 billion (US$8.8 billion) and informed Suzano’s shareholders that

Suzano had established credit facilities worth US$9.2 billion “to cover the cash needs of the

transaction,” and “whose disbursement was subject, among other conditions, to the consummation

of the Transaction.” Id. The earnings report further explained that the guaranteed financing was

divided into two tranches – the first (term loan) in the amount of US$2.3 billion with term of six

years and the second (bridge loan) in the amount of US $6.9 billion with term of three years. Id.

       In the third quarter earnings release, Suzano further explained to its shareholders that its

financial expenses increased by 46% as compared to the second quarter, specifically reflecting

“the commitment of US$4.5 billion in credit facilities made available for the business combination

with Fibria and by the loans taken out as of June 2018 for the business combination with Fibria.”

Id. Similarly, the fourth quarter earnings report noted that compared to a year earlier, the 35.8%

increase in financial expenses recorded by Suzano “is explained by the loans taken out for the

business combination with Fibria and by the weaker BRL in the period.” Id.




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       As importantly, these quarterly earnings reports included detailed charts (reproduced

below) specifically identifying and quantifying the financial expenses incurred by Suzano in this

period to finance its investment in Fibria, and clearly distinguishing those investment-related

financial expenses from other general expenses incurred by Suzano in the same period to finance

Suzano’s general operations:

       Q2 2018:




       Q3 2018:




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        Q4 2018:




                                                                                                         2/

Id. With this information, Commerce had both a complete explanation of the cash accumulation

that Suzano undertook specifically to carry out the investment in Fibria as well as a detailed

accounting of the amounts incurred for that purpose.

        Using this information Suzano provided Commerce with a chart, reproduced below,

summarizing the Fibria acquisition-related financial expenses for 2018 on a quarterly basis. Id.




2/       Suzano respectfully notes that these figures tie to the provided summary chart, but the quarterly
Fibria-related expenses may diverge by between R$0-1 million due to rounding differences.


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Id. at Exh. D-19A (P.R. 79-80; C.R. 139). The amounts reported in these quarterly financial

reports, in turn, tie and are reconciled to Suzano’s audited income statements which were also

provided to Commerce. See Initial Section D Response at Exhibit D-17 (P.R. 79-80; C.R. 137).

       Because these financial expenses were clearly identified and tied to investment activity and

were incurred outside of the normal operations of the company, Suzano submitted in its

questionnaire responses two alternative calculations of its net interest expenses for the period of

review. See id.; Letter from Joel D. Kaufman to the Hon. Wilbur Ross re Antidumping Duty

Investigation of Certain Uncoated Paper from Brazil: Suzano’s Supplemental Section D

Questionnaire Response, Exhibit SD-2 (Feb. 26, 2020) (“Supplemental Section D Response”)

(P.R. 121; C.R. 221). In the first calculation, Suzano excluded the derivative losses incurred in

connection with the Fibria investment using the amounts identified and reported in Suzano’s

quarterly financial reports submitted on the record (and reconciled to Suzano’s audited income

statement). Initial Section D Response at Exhs. 19 and 19a (P.R. 79-80; C.R. 139). Suzano

presented a second and alternative calculation which combined the net financial expenses of both

Suzano and Fibria for the 2018 period, inclusive of the derivative losses incurred to finance the

acquisition of Fibria and allocated those combined expenses over the combined cost of sales of the

two companies. Suzano provided the net financial expenses of Fibria on the record to support this

approach. Id. at Exh. 19a (P.R. 79-80; C.R. 139). Because this second approach was the more

conservative of the two calculations, Suzano submitted its cost of production data to Commerce

using the second methodology. Id. at Exh. 19 (P.R. 79-80; C.R. 139).

       C.      Commerce Included the Investment-Related Expenses in Suzano’s Financial
               Expense Calculation and Declined to Adopt Suzano’s Alternative Calculation
               Method, Significantly Distorting Suzano’s Financial Expense Ratio

       On January 27, 2021, Commerce published its Final Determination in the Federal Register.

Commerce refused to exclude the investment-related derivative losses from the calculation of


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Suzano’s financial expenses, stating “{w}e note that the footnotes to {Suzano’s 2018

consolidated} financial statements do not identify any derivatives related to the Fibria.” Final I&D

Memo at Comment 1. Commerce also dismissed the fact that “Suzano base{d} its arguments on

its own quarterly earnings releases to show that certain derivatives were related to the cash

requirements of the acquisition of Fibria. We agree with the petitioners that we should rely on the

findings of Suzano’s auditors and not exclude a portion of Suzano’s financial expenses from our

calculations.” Id. On this basis, Commerce found that Suzano’s derivative expenses were part of

the company’s “normal business” and were neither investment-related nor extraordinary, noting

that the amounts reflected in Suzano’s consolidated financial statements were prepared in

accordance with Brazilian generally accepted accounting principles (“GAAP”) and showed the

derivative losses at issue to be part of Suzano’s financial expenses. Id. Finally, Commerce refused

to alternatively calculate a combined financial expense ratio for Suzano and Fibria finding that the

derivative expenses were incurred by Suzano alone and therefore were not attributable to the

combined companies. Id.

       As a result of its calculations, Commerce assigned a final weighted-average dumping

margin of 32.31% to Suzano. See Final Determination at 7,254.

IV.    STANDARD OF REVIEW

       In appeals of final antidumping duty determinations, the Court shall hold unlawful and

remand any administrative determination by Commerce that is “unsupported by substantial

evidence on the record or otherwise not in accordance with law.” 19 U.S.C. § 1516a(b)(1)(B)(i).

Substantial evidence is “such relevant evidence as a reasonable mind might accept as adequate to

support a conclusion.” Universal Camera Corp. v. N.L.R.B., 340 U.S. 474, 477 (1951) (quoting

Consol. Edison Co. v. N.L.R.B., 305 U.S. 197, 229 (1938)). It must be “more than a scintilla, and

must do more than create a suspicion of the existence of the fact to be established.” N.L.R.B. v.


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Columbian Enameling & Stamping Co., 306 U.S. 292, 300 (1939). “Substantial evidence review

requires consideration of the record as a whole, including any evidence that fairly detracts from

the substantiality of the evidence.” Ceramark Technology, Inc. v. United States, 11 F.Supp.3d

1317, 1321 (Ct. Int’l Trade 2014) (quoting Gallant Ocean (Thailand) Co. v. United States, 602

F.3d 1319, 1323 (Fed. Cir. 2010) (internal quotation marks and citation omitted)). Through such

review the Court determines “whether the evidence and reasonable inferences from the record

support {the agency’s} finding.” Daewoo Elecs. Co. v. Int’l Union of Elec., Technical, Salaried

& Mach. Workers, AFL-CIO, 6 F.3d 1511, 1520 (Fed. Cir. 1993) (internal quotation marks and

citation omitted).

       This Court has held that Commerce's “total failure to consider or discuss record evidence

which, on its face, provides significant support for an alternative conclusion renders {a

determination} unsupported by substantial evidence.” Ceramark Technology, 11 F.Supp.3d at

1323 (citing Allegheny Ludlum Corp. v. United States, 24 C.I.T. 452, 479, 112 F.Supp.2d 1141,

1165 (2000)). Further, this Court has held that “in order to ascertain whether action is arbitrary. .

. reasons for the choices made among various potentially acceptable alternatives usually need to

be explained.” Bando Chemical Industries, Ltd. v. United States, 16 C.I.T. 133, 136, 787 F. Supp.

224, 227 (1992). Commerce must therefore provide a “rational connection between the facts found

and the choice made.” Burlington Truck Lines, Inc. v. United States, 371 U.S. 156, 168 (1962).

V.     ARGUMENT

       The sole issue on appeal is the manner in which Commerce calculated Suzano’s net

financial expense ratio used to determine the cost of production (“COP”). In calculating a

respondents’ cost of production, including net financial expenses, Commerce’s established policy

is to exclude expenses that are associated with investment activities or that are considered

“extraordinary” in nature. See, e.g., Phosphor Copper from the Republic of Korea, 84 Fed. Reg.


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69,720 (Dep’t Commerce Dec. 19, 2019) (final results of antidumping duty admin. review; 2016-

2018) (“Phosphor Copper from Korea”) and accompanying I&D Mem. at Comment 4; Carbon

and Alloy Steel Wire Rod from Spain, 83 Fed. Reg. 13,233 (Dep’t Commerce Mar. 28, 2018) (less-

than-fair-value investigation) and accompanying I&D Mem. at Comment 2 (citing Floral Trade

Council of Davis, Cal. v. United States, 16 C.I.T. 1014, 1016 (1992)). This is because the inclusion

of investment-related and/or extraordinary expenses will not fairly represent the respondents’

actual cost of producing the merchandise under consideration. See Carbon and Alloy Steel Wire

Rod from Spain, 83 Fed. Reg. 13,233 (Dep’t Commerce Mar. 28, 2018) (less-than-fair-value

investigation) and accompanying I&D Mem. at Comment 2.; Certain Softwood Lumber Products

from Canada, 82 Fed. Reg. 51,806 (Dep’t Commerce Nov. 8, 2017) (final affirmative

determination of sales at less than fair value and affirmative final determination of critical

circumstances) and accompanying I&D Mem. at Comment 31 (“Investment activities are a

separate profit-making activity not related to the company's normal operations. In this instance,

{Respondent} is not selling lumber on the Chicago Mercantile Exchange (CME) that results in the

shipment of subject merchandise where the sales would be reported. Further, {Respondent} is not

proactively attempting to diminish risks related to the volatility in the price of the main inputs used

in its general operations to produce subject merchandise. Here {Respondent}'s particular

derivative instruments in question are related solely to speculative investment activity and do not

relate to the general production operations of the company”).

       At issue here is whether it was reasonable or supported by substantial evidence for

Commerce to have refused to exclude certain “derivative expenses” from the calculation of

Suzano’s net financial expense ratio where documentary evidence on the administrative record

showed that these expenses were incurred for the specific purpose of financing Suzano’s multi-




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billion dollar investment in Fibria Celulose S.A. – an unrelated producer of eucalyptus pulp sold

in the merchant pulp market. For the Final Results, Commerce erroneously determined that the

derivative expenses at issue were neither investment-related, nor extraordinary.

       Commerce’s determination that the derivative expenses at issue were neither investment-

related, nor extraordinary was not supported by substantial evidence and was unreasonable in light

of the record before the agency. As discussed below, Commerce committed reversible error by

disregarding record evidence contained in certain quarterly earnings releases that identified the

precise amount of these expenses, unequivocally demonstrated that the derivative expenses at issue

were directly related to the acquisition of Fibria, and demonstrated that they were extraordinary in

both nature and magnitude. Commerce’s contrary assertion that the derivative expenses were

related to Suzano’s “overall cash management” and “normal business,” Final I&D Memo at

Comment 1, ignores evidence on the record that directly and specifically tied those expenses to

the extraordinary and massive investment in Fibria.

       As a result of these errors, Commerce failed to consider records that “reasonably reflect{}

the costs associated with the production and sale of the subject merchandise,” 19 U.S.C.

§ 1677b(f)(1)(A), resulting in an inaccurate and grossly distorted financial expense ratio that does

not reflect the cost of production of the subject merchandise.

       A.      Commerce’s Finding That the Derivative Expenses Were Not Investment-
               Related is Unsupported by Substantial Evidence on the Record

       Commerce’s finding that the derivative expenses at issue were not “investment-related,”

but were instead part of the “overall cash management” and “normal business” of Suzano is not

supported by the evidence. Commerce reached this determination only by disregarding evidence

presented by Suzano demonstrating the investment-related nature of the expenses.




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               1.      Commerce’s Consistent Policy is to Exclude Investment-Related
                       Expenses from the Cost Calculation

       In the Final I&D Memo, Commerce acknowledged that “it is Commerce’s practice to

exclude {} investment-related gains or losses from the calculations of cost of production . . . .”

Final I&D Memo at 5. Commerce has, in fact, consistently recognized that “investment-related

expenses” are not “costs associated with the production and sale of the merchandise” and that such

costs must therefore be excluded from the financial expense calculation. See, e.g., Phosphor

Copper from Korea and accompanying I&D Mem. at Comment 4 (“Commerce’s practice is to

exclude only investment-related gains or losses from the calculation of {Cost of Production}.”).

There is no dispute concerning this practice.

               2.      The Derivative Expenses at Issue Here Were Not Part of Suzano’s
                       General Financing Activity, But Were Instead Specifically Related to
                       Suzano’s Planned Investment in Another Company -- Fibria

       The derivative expenses at issue here were unquestionably investment-related and

unrelated to Suzano’s MUC production operations. As Suzano documented on the record, these

derivative expenses were incurred for the specific and targeted purpose of funding Suzano’s

investment in Fibria and were not related to the financing of Suzano’s general operations such as

financing cash flow, working capital, the acquisition of raw materials, hedging exposure to

inflation or foreign currency rates in relation to the company’s overall cash management, etc. The

derivative-related expenses at issue were instead specifically related to financing obtained and

used for an investment in a separate profit-making venture.

       The acquisition of Fibria cannot reasonably be treated as part of the “overall cash

management” of the company and “normal business” of Suzano. The acquisition of Fibria instead

represented an extraordinary multi-billion-dollar investment by Suzano in a much larger company

engaged in a different line of business than the production of the uncoated paper that is the subject



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of the antidumping proceeding. As described above and in Suzano’s responses to Commerce’s

questionnaire, Fibria operates a distinct line of business unrelated to Suzano’s production of the

subject merchandise—“Fibria does not produce paper.” Initial Section D Response at D-38–D-39.

Rather, it is the world’s largest manufacturer of eucalyptus pulp. Initial Section A Response, at

Exh. A-17 (P.R. 35-38; C.R. 9-12). Even after the companies were merged in the final months of

the POR, Fibria’s pulp sales and Suzano’s paper production were kept separate—“Fibria{’s} pulp

is to be utilized for pulp sales, not for Suzano’s papermaking operations.” Initial Section D

Response at D-38–D-39. Thus, this acquisition cannot accurately be described as “normal

business” of manufacturing paper. Equally, Suzano’s multi-billion dollar acquisition of Fibria

cannot be characterized as part of Suzano’s “overall cash management” because Suzano does not

“manage” its cash by borrowing vast (and expensive) amounts of it and spending it all to buy

enormous, distinct businesses. To put this in perspective, the consolidated Suzano entity earned

R$10.5 billion in net sales revenue in 2017, while the acquisition of Fibria cost R$37.2 billion (or

3.5 times Suzano’s 2017 total net revenue). See Initial Section A Response at Exh. A-17, (P.R.

35-38; C.R. 9-12). A purchase of this magnitude is plainly not “cash management” or part of the

financing of the general operations of Suzano.

          In characterizing Suzano’s cost of acquiring Fibria as part of the “overall cash

management” of the company and Suzano’s “normal business,” Commerce found the derivative

expenses addressed in Phosphor Copper from Korea and Certain Tapered Roller Bearings from

the Republic of Korea, 83 Fed. Reg. 29,092 (Dep’t Commerce June 22, 2018) (final determination

of sales and less than fair value) (“TRBs from Korea”) to be akin to those at issue here. Commerce

argued:

                In both cases, Commerce’s determination {to include the derivative
                expenses at issue in the financial expense calculation} was based on



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               whether the derivative activity itself was a separate profit-making
               investment activity. Here, the derivative activity is part of Suzano’s
               normal business.”

Final I&D Memo at Comment 1. But Commerce got this wrong on at least two fronts: first,

Suzano’s derivative expenditure to acquire Fibria was directly related to Suzano’s investment in a

separate profit-making venture – Fibria’s pulp business. Commerce’s reasoning for including the

derivatives in both Phosphor Copper from Korea and TRBs from Korea was because the

derivatives were related to the respondents’ cash management activities to hedge against certain

financial risks (i.e., “foreign exchange risk” and “fluctuating interest rates”) in relation to the

respondent’s general operations. Phosphor Copper from Korea and accompanying I&D Mem. at

Comment 4; TRBs from Korea and accompanying I&D Mem. at Comment 7. In Suzano’s case,

the derivates were taken on for a specific and enormous investment in a separate profit-making

venture, Fibria, and they had nothing to do with managing the company’s financial risk exposure

in relation to its general paper-making operations. Commerce’s failure to recognize this distinction

is a material flaw in its analysis. Second, Commerce characterized Suzano’s expenses in acquiring

Fibria as “part of Suzano’s normal business.” Again, this is factually incorrect and unsupported

by the record. In fact, as described above, Suzano’s own financial reporting separated out these

expenses from Suzano’s other financial expenses precisely because these expenses were not part

of Suzano’s normal business activity. Again setting the facts at issue here apart from the cases

cited by Commerce in the Final I&D Memo, Commerce even specified in Phosphor Copper from

Korea that “to disregard {a respondent’s} cash management mechanisms used in its normal

operations would lead to distortions{.}” Phosphor Copper from Korea and accompanying I&D

Mem. at Comment 4. As described extensively above, the derivative expenses incurred for the

Fibria acquisition cannot be described as part of Suzano’s “normal operations,” and Commerce’s




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inclusion of those expenses in the financial expense ratio lead to a significant distortion in the

margin calculation.

          For these reasons, Commerce’s insistence on treating the Fibria acquisition costs as non-

investment-related may be best understood as Commerce actually challenging whether there was

sufficient record evidence to support Suzano’s factual claim that “certain derivatives were related

to the cash requirements of the acquisition of Fibria.” Final I&D Memo at 5. That is to say,

Commerce did not truly challenge that the acquisition of Fibria was investment-related activity,

but instead challenged that the record evidence supported Commerce excluding part of the

Suzano’s overall financial expense from its financial expense calculation. In particular, Commerce

stated:

                 Here, Suzano’s 2018 consolidated financial statements, prepared in
                 accordance with Brazilian GAAP, show the derivative losses in
                 question as financial expenses. We note that the footnotes to those
                 financial statements do not identify any derivatives related to the
                 Fibria acquisition. Instead, Suzano bases its arguments on its own
                 quarterly earnings releases to show that certain derivatives were
                 related to the cash requirements of the acquisition of Fibria. We
                 agree with the petitioners that we should rely on the findings of
                 Suzano’s auditors and not exclude a portion of Suzano’s financial
                 expenses from our calculations.

Id.

          In other words, Commerce chose to rely on the broad and unhelpful categorization of these

expenses in the audited financial statements generically as “financial expenses” while utterly

disregarding the evidence presented in Suzano’s quarterly earnings reports to its shareholders that

separately identified the portion of the financial expense amounts that were, in fact, directly

incurred to support the investment in Fibria, a separate company in line of business separate from

production of merchandise under consideration.




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               3.      Commerce Erred by Disregarding the Quarterly Financial Data
                       Submitted by Suzano Demonstrating the Nature and Amount of the
                       Expenses

        As a preliminary matter, there is no conflict between what is stated in the audited financial

statements and the quarterly earnings reports with respect to the nature and purpose of the

derivative expenses. There is no dispute that the derivative expenses are, generically speaking,

“financial expenses.” The question is not whether the derivative expenses at issue were “financial”

in nature but, rather, whether they were related to an excludable investment activity – i.e., the

financing of Suzano’s acquisition of Fibria. By choosing to rely on the broad and generic

characterization of these expenses in the audited financial statements as “financial,” Commerce

failed to address the relevant question of whether these expenses were tied to an investment

activity.

        The question of whether these derivative expenses were investment-related is, however,

directly answered in the quarterly earnings reports placed on the record by Suzano that Commerce

deliberately chose not to “rely on.” As discussed in Section III.B above, Suzano provided quarterly

financial reports covering the period of review which both identify and quantify Suzano’s

derivative expenses that were associated with the acquisition of Fibria, and which tie directly to

and are reconciled with the audited income statement provided in Suzano’s audited 2018 Financial

Statements. The quarterly earnings reports, which were produced in the ordinary course of

business and issued through Suzano’s regular reporting process, are based on the company’s

normal books and records. The disclosures in these earnings reports explain that Suzano’s

financial expenses significantly increased in 2018 due to the “commitment for financing

facility{ies}{} made available for the business combination with Fibria.” Initial Section D

Response at Exhibit D-19a (P.R. 79-80; C.R. 139). The reports identify the specific amounts that

were incurred to finance the Fibria investment and the financial instrument through which the


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financing occurred, along with further explanatory notes. For instance, in its Q2 2018 Quarterly

Report, Suzano explained the loans secured by Suzano:

               On March 15, 2018, the Company announced a transaction with
               Fibria worth R$29.0 billion (US$8.8 billion, at the exchange rate on
               the day) and informed that it already had credit facilities worth
               US$9.2 billion to cover the cash needs of the transaction, whose
               disbursement is subject, among other conditions, to the
               consummation of the Transaction. The guaranteed financing is
               divided into two tranches: the first (term loan) in the amount of
               US$2.3 billion with term of six years and the second (bridge loan)
               in the amount of US$6.9 billion with the term of three years.

Id. The quarterly reports also provide specific dollar figures of financial expense directly related

to the Fibria acquisition in each quarter of 2018. Id. Finally, Suzano provided a “2018 Derivative

Income (Loss) Breakdown” summary chart (reproduced below for ease of reference), portraying

the financial expense amounts related to the Fibria transaction from each of the quarterly reports.

Id. at Exhibit D-19 (P.R. 79-80; C.R. 139).




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This chart demonstrates that during 2018 Suzano incurred R$2,217,000,000 in derivative losses

related specifically to the Fibria investment. Id.

        All of this information was before Commerce. Yet, Commerce chose to cast this all aside

in favor of characterizing these expenses generically as “financial,” while refusing to “rely on” the

information asserted by Suzano because “Suzano bases its arguments on its own quarterly earnings

releases to show that certain derivatives were related to the cash requirements of the acquisition of

Fibria.” Final I&D Memo at Comment 1 (emphasis added). While Commerce acknowledged the

existence of the quarterly earnings reports, it entirely failed to engage with – in fact, categorically

dismissed – their substance and treated the record as bereft of evidence linking the amounts at

issue to the acquisition of Fibria.

        Commerce does not have discretion to simply disregard relevant information on the record

of its proceeding. Commerce is in fact obligated to review the information that Suzano submitted

under the antidumping statute governing the calculation of cost of production:

                Costs shall normally be calculated based on the records of the
                exporter or producer of the merchandise, if such records are kept
                in accordance with the generally accepted accounting principles of
                the exporting country (or the producing country, where appropriate)
                and reasonably reflect the costs associated with the production and
                sale of the merchandise. The administering authority shall
                consider all available evidence on the proper allocation of costs,
                including that which is made available by the exporter or producer
                on a timely basis, if such allocations have been historically used by
                the exporter or producer, in particular for establishing appropriate
                amortization and depreciation periods, and allowances for capital
                expenditures and other development costs.

19 U.S.C. § 1677b(f)(1)(A) (emphasis added). As discussed above, this Court has held that

Commerce's “total failure to consider or discuss record evidence which, on its face, provides

significant support for an alternative conclusion renders {a determination} unsupported by

substantial evidence.” Ceramark Technology, 11 F.Supp.3d at 1323 (citing Allegheny Ludlum, 24



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C.I.T. at 479). This Court has further held that “reasons for the choices made {by Commerce}

among various potentially acceptable alternatives usually need to be explained.” Bando Chemical

Industries, 16 C.I.T. at 136. The Federal Circuit has similarly held “we must determine the

existence of substantial evidence by considering the record as a whole, including evidence that

‘fairly detracts from the substantiality of the evidence{,}’” which is to say that the evidence must

be analyzed on both sides of an issue. Huaiyin Foreign Trade Corp. v. United States, 322 F.3d

1369, 1374 (Fed. Cir. 2003) (citing Atl. Sugar, Ltd. v. United States, 744 F.2d 1556, 1562 (Fed.

Cir. 1984)).

       One fairly analogous instance where this Court applied the above standard was in

Allegheny Ludlum, 24 C.I.T. 452. This Court examined whether Commerce had fully considered

a statement placed on the record by a respondent to demonstrate that it controlled certain shares of

a particular company in the context of a countervailing duty administrative review. The statement

was made in the respondent’s annual financial statement and pertained to whether certain stock in

question was controlled by the respondent. Commerce simply found that it was not controlled by

the respondent and calculated the CVD margin accordingly without explicitly acknowledging or

otherwise engaging with the statement. This Court found that further explanation from Commerce

was necessary because there was no evidence that the department “explicitly weigh{ed} or

analyze{d} the significance of this statement.” Id., 24 C.I.T. at 479. This Court held: “{w}ithout

more {explanation} the Court is simply left to conclude that this seemingly important record

evidence was not considered by Commerce” and therefore remanded to Commerce. Id.

       Here, Commerce’s failure to consider the evidence at issue is not in question. Commerce

admits that it deliberately chose not to “rely on” the information contained in the quarterly earnings

reports that spoke to the issue at hand and chose instead to rely on a broad categorization of the




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expenses as “financial” in the audited financial statements. Yet, no explanation is provided by

Commerce in the Issues and Decision Memorandum explaining or justifying Commerce’s

rejection of the information contained in the quarterly earnings reports. Neither Suzano, nor this

Court has any basis to determine what evidence, if any, led Commerce to this consequential

decision. Much like in Alleghany, there is no evidence that Commerce “explicitly weigh{ed} or

analyze{d}” Suzano’s quarterly earnings reports and its statements relating to those reports.

Allegheny Ludlum, 24 C.I.T. at 479. Absent further explanation for its conclusion, this Court must

conclude the evidence was not considered by Commerce and requires remand.

       This Court also reviewed a similar issue in Nucor v. United States, 33 C.I.T. 207, 612

F.Supp.2d 1264 (2009). In that case, this Court reviewed Commerce’s deficient conclusion that a

respondent had misidentified the date of sale as the contract date in its sales reporting. The Court

found that Commerce had “essentially ignored the substance of {the respondent’s} comments, on

the theory that the existence of a single increase in price obviated the need to consider the

comments.” Id., 33 C.I.T. at 265. The Court concluded that “{b}ecause Commerce failed to

properly consider the record evidence . . . Commerce's determination on remand to use invoice

date as the date of sale is not supported by substantial evidence.” Id. at 269.

       Again, much like in Nucor, Commerce here has concluded based solely on a theory that

the quarterly earnings reports do not warrant consideration because Commerce can instead rely on

other information on the record – namely, the broad, and ultimately unhelpful, characterization of

the expenses as “financial” in Suzano’s 2018 audited financial statements. But this conclusion

entirely negates the purpose of Suzano placing the reports on the record in the first instance -- i.e.,

to provide Commerce with relevant information concerning the purpose and amount of the

financial expenses incurred to finance the investment in Fibria. Commerce’s failure to consider




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this information is inconsistent with Commerce’s obligation to “consider{ } the record as a whole,

including evidence that ‘fairly detracts from the substantiality of the evidence.” Huaiyin Foreign

Trade Corp., 322 F.3d at 1374 (citing Atl. Sugar, 744 F.2d at 1562).

       Nor did Commerce advance any plausible basis to discredit the information contained in

the quarterly earnings reports. As noted above, the information contained in the quarterly earnings

reports is consistent with the information in the audited financial statements (on which Commerce

purportedly relied) and merely provides further details (details that confirm the investment-related

nature and the specific amount of the expenses). Indeed, the detailed amounts reported in the

quarterly earnings reports reconcile to the amounts reported in the audited financial statements.

Accordingly, there was no basis for Commerce to discredit or doubt the reliability of the

information in the quarterly earnings reports as Commerce did here.

       The legislative history underlying Section 773(f) of the Act (19 U.S.C. § 1677b(f)) also

supports the assertion that Commerce should have given due consideration to the Suzano’s

quarterly earnings reports. The relevant Senate Report provides:

               With respect to the allocation of costs, {this bill} requires the
               authorities to consider all available evidence on proper allocation,
               including evidence provided by the exporter or producer in question
               if they have historically used such allocations, in particular with
               respect to establishing appropriate amortization and depreciation,
               periods and allowances for capital expenditures and other
               development costs. Section 224 of the implementing bill amends
               section 773 of the 1930 Tariff Act to enact, in new section
               773(f)(1)(A), these specific requirements. The Committee expects
               the Commerce Department, in determining whether a producer's
               or exporter's records reasonably reflect the costs associated with
               the production and sale of the product in question, to examine the
               recorded production costs with a view to determining as closely as
               possible the costs that most accurately reflect the resources
               actually used in the production of the merchandise in question.

S. Rep. No. 103-412 at 74 (1994) (emphasis added).




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       Thus, Commerce has an obligation to duly consider the record evidence placed before it to

derive margin calculations which accurately reflect the resources used in the production of the

merchandise. Commerce instead failed to consider pertinent evidence on the record related to the

Fibria transaction. This failure caused Commerce to improperly include over R$2 billion in

financial expense that are investment-related and therefore excludable. The improper inclusion of

these expenses nearly doubled Suzano’s actual financial expense ratio related to the cost of

production for the merchandise under consideration – from [        ]% of the cost of goods sold

(without Fibria acquisition expenses) to [   ]% (with Fibria acquisition expenses). Supplemental

Response to Section D at Exh. SD-2 (P.R. 121; C.R. 221).

       In summary, Commerce’s “total failure {in this instance} to consider or discuss record

evidence which, on its face, provides significant support for an alternative conclusion,” Ceramark

Technology, 11 F.Supp.3d at 1323—i.e. that Suzano’s financial expenses were not “part of

Suzano’s normal business”—renders Commerce’s determination that the expenses were not

investment-related unsupported by substantial evidence. As a result of Commerce’s unsupported

determination, Commerce failed to accurately reflect the cost of production and sale of subject

merchandise in its financial expense ratio calculation. Accordingly, Commerce’s determination

to include these expenses in Suzano’s cost of production should be reversed and remanded for

consideration of the information that Suzano provided in the quarterly earnings reports.

       B.      Commerce’s Determination That the Derivative Expenses Were Not
               Extraordinary is Also Unsupported by Substantial Evidence and Contrary to
               Law

       Commerce also erred in determining that the derivative expenses at issue were not

“extraordinary” in nature and therefore includable in Suzano’s costs as ordinary expenses.

“Commerce will exclude expenses deemed ‘extraordinary’ if they pertain to an event which is

unusual in nature and infrequent in occurrence.” Carbon and Alloy Steel Wire Rod from Spain, 83


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Fed. Reg. 13,233 and accompanying I&D Mem. at Comment 2 (citing Floral Trade Council, 16

C.I.T. at 1016). “An event is “unusual in nature’ if it is highly abnormal, and unrelated or

incidentally related to the ordinary and typical activities of the entity, in light of the entity’s

environment. An event is ‘infrequent in occurrence’ if it is not reasonably expected to recur in the

foreseeable future.” Floral Trade Council, 16 C.I.T. at 1016.

        Commerce’s determination that the financial expenses incurred by Suzano to finance its

investment in Fibria were simply part of Suzano’s “ordinary” or “normal” operations was neither

reasonable nor supported by substantial evidence in light of the evidence before Commerce of the

investment-related nature of the expenses, the extraordinary size of the Fibria acquisition relative

to Suzano’s then-current operations, the extraordinary impact that the required financing had on

Suzano’s overall financial expenses for the period, and the extraordinary circumstances of the

acquisition itself.

                1.     Costs that are Not Categorized as Extraordinary on the Financial
                       Statements are Not Precluded from Being Considered Extraordinary
                       for Commerce’s Purposes

        In the Final Results, Commerce found that the derivative expenses related to the acquisition

were not “extraordinary” principally because Suzano’s audited 2018 Financial Statements did not

classify the derivative expenses as extraordinary. Final I&D Memo at Comment 4. While it may

be a relevant factor for consideration, the fact that costs are not categorized as extraordinary on a

company’s audited financial statements does not preclude those expenses from being recognized

as extraordinary for purposes of the antidumping cost calculation. Specifically, Commerce has

held:

                {C}osts that are not categorized as extraordinary on the financial
                statements are not precluded from being considered unforeseen
                and extraordinary by the Department in its analysis of costs for
                exclusion or inclusion in the COP. In fact, section 773(f)(1)(A) of
                the Tariff Act of 1930, as amended (the Act) directs the Department


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               to consider not only how a particular item of income or expense is
               recorded on the company's financial statement, but also the nature
               of the item and whether the results reasonably reflect the costs
               associated with the production and sale of the merchandise. The
               extraordinary nature of a particular event is not the Department's
               sole consideration in determining whether or not to allow a cost
               offset. Rather, it is the cumulative nature of the impact of the
               event.

Certain Frozen Warmwater Shrimp from Brazil, 72 Fed. Reg. 52,061 (Dep’t Commerce Sept. 12,

2007) (final results of administrative review) and accompanying I&D Mem. at Comment 1

(emphasis added).

       Here, while Commerce disputed Suzano’s claim that the derivative expenses were

“extraordinary and stem from an isolated event,” Commerce unreasonably hinged its

determination on the fact that Suzano’s auditors issued an unqualified opinion on Suzano’s

financial statements and did not classify the expenses as extraordinary. As discussed above,

Commerce has itself recognized that the auditor’s accounting treatment is not dispositive of the

question.

               2.     Suzano’s Acquisition of Fibria Was Extraordinary and Generated
                      Extraordinary Expenses

       As explained above, Suzano’s financial expenses related to the Fibria acquisition were

unrelated to the general operations of the business, but were rather tied to an isolated, one-time

investment in Fibria which was an extraordinary event on several counts. These expenses were

not tied to the ongoing operations of Suzano and were unrelated to the manufacture or sale of the

uncoated paper under investigation. Initial Section D Response at note 1 (P.R. 79-80; C.R. 139)

(“Fibria does not produce paper and its pulp is to be utilized for pulp sales, not for Suzano’s

papermaking operations, which is already supplied by Suzano’s pulp operation.”). Further it is

unusual for a smaller company to purchase a larger company, and not a frequent occurrence for

Suzano. To put the size of the investment in perspective, the consolidated Suzano entity earned


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R$10.5 billion in net sales revenue in 2017, while the acquisition of Fibria cost R$37.2 billion (or

3.5 times Suzano’s 2017 net revenue). See Initial Section A Response at Exh. A-17, (P.R. 35-38;

C.R. 9-12). The steps taken by Suzano to finance Suzano’s investment in Fibria were therefore

qualitatively and quantitatively outside of the boundaries of the company’s ordinary business

activities.

        The acquisition of Fibria also required extraordinarily significant financial resources that

severely distorted Suzano’s overall financial results. To position itself for the investment, Suzano

incurred enormous financial expenses to raise the cash necessary for the acquisition in the

beginning of 2018. Suzano’s Quarterly Reports detail the specific expenses and explain that they

are related to securing a large term loan and bridge loan along with other financial resources to

fund the acquisition. Id. at Exhs. D-19 & D-19a (P.R. 79-80; C.R. 139). Using the consolidated

Suzano entity as a benchmark, that entity’s total financial expenses grew by 279% between 2017

and 2018. See Initial Section A Response at Exh. A-17, (P.R. 35-38; C.R. 9-12). The Fibria-

related derivative expense itself – amounting to R$ 2.2 billion dollars – is more than one-and-a-

half times larger than the consolidated Suzano entity’s total 2017 financial expenses. Initial

Section A Response at Exh. A-17, (P.R. 35-38; C.R. 9-12); Initial Section D Response at Exh. D-

19 (P.R. 79-80; C.R. 139).

        Next, while Suzano’s auditors may not have categorized the acquisition of Fibria as an

“extraordinary” event, they nevertheless recognized throughout the financial statement that the

acquisition was a unique and significant event. In fact, the very first sentence of the 2018 Report

provides:

               The year 2018 represents an important milestone in the history of
               Suzano, the company resulting from the integration between Suzano
               Pulp & Paper and Fibria Celulose. Concluded on January 14, 2019,
               the combination of two successful and globally relevant companies



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               effectively creates opportunities to build a future with even greater
               capacity to create value and to share these accomplishments with all
               our related parties.

Initial Section A Response at Exh. A-17, (P.R. 35-38; C.R. 9-12). Moreover, the auditors

specifically recognized the impact that the Fibria acquisition had on the company’s financial

expense, reporting: “The net financial expense stood at R$1.0 billion, up 14.0% from 2017, driving

{sic} by all the expenses with financing the business combination with Fibria,” and “{t}he

company had an intense year and was very successful in raising funding, especially for the

transactions related to the business combination with Fibria.” Id. The auditors even recognized

the impact of the extraordinary acquisition on the company’s sustainability efforts, providing that

“Although the year 2018 was an atypical one for Suzano, given the start of the process that led to

the integration with Fibria, the performance of our social and environmental indicators improved.”

Id. In short, while the auditors may not have formally categorized the investment in Fibria as

extraordinary event, they certainly recognized how significant the event was for Suzano.

       Commerce’s exclusive reliance on the fact that the auditors did not classify the expenses

as extraordinary is not only a deviation from the agency’s own statements that such designations

are not dispositive, but is also unreasonable in light of the substantial evidence discussed above

demonstrating the extraordinary nature of these expenses in absolute magnitude, in their impact

on the cost of production, and in light of the highly unusual circumstances of this one-time

acquisition.   Commerce’s determination should be reversed and remanded for further

consideration of this evidence.




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VI.      CONCLUSION

         For the forgoing reasons, Suzano respectfully requests that the Court grant its Motion for

Judgment on the Agency Record.          Suzano respectfully requests that this Court remand to

Commerce with instructions to recalculate Suzano’s margin consistent with the arguments set forth

above.

                                              Respectfully submitted,


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Dated: July 16, 2021




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                             CERTIFICATE OF COMPLIANCE

       The undersigned counsel at Hogan Lovells US LLP hereby certifies that the foregoing brief

complies with the word-count limitation described in the Standard Chambers Procedures. This

brief contains 8,630 words according to the word-count function of the word-processing software

used to prepare the brief.

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